       Case 1:21-cv-00400-APM Document 10-1 Filed 03/23/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

HON. BENNIE G. THOMPSON, in his
personal capacity,
2466 Rayburn House Office Building
U.S. House of Representatives
Washington, DC 20515

             Plaintiff,

v.                                              Case No. 1:21-cv-400 APM
DONALD J. TRUMP, solely in his personal
capacity
Mar-A-Lago
1100 S. Ocean Blvd.
Palm Beach, Florida 33480-5004,

RUDOLPH W. GIULIANI,
Rudolph W Giuliani, PLLC
445 Park Ave FL 18
New York, NY 10022-2606

PROUD BOYS INTERNATIONAL, L.L.C.,
c/o Jason L. Van Dyke
108 Durango Dr.
Crossroads, TX, 76227, and

OATH KEEPERS,
Attn: Stewart Rhodes
1030 E. Hwy 377
Ste 110-285
Granbury, TX 76048
4625 West Nevso Drive, Suite 2 & 3
Las Vegas, NV, 89103,

            Defendants.
____________________________________________________/

                                [PROPOSED] ORDER

      This matter is before the Court on OATH KEEPERS Consent Motion for an
       Case 1:21-cv-00400-APM Document 10-1 Filed 03/23/21 Page 2 of 2




Extension of Time to Answer or Otherwise Plead (“Motion”). For the reasons

stated in the Motion and for good cause shown, the Motion is GRANTED and

OATH KEEPERS shall file its answer or otherwise respond to the Complaint by

no later than April 26, 2021.


Dated: _________________           __________________________________
                                   Amit P. Mehta
                                   United States District Judge
